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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION
  ________________________________________

  ANDREW PERRONG, on behalf of himself
  and others similarly situated,

         Plaintiff,

  v.                                                     Case No. 1:19-cv-1940-JPH-DML

  GOLDEN RULE INSURANCE COMPANY
  and AMERICAN SELECT PARTNERS, LLC                      CLASS ACTION

         Defendants.



        PLAINTIFF’S MOTION TO QUASH SUBPOENA TO VERIZON WIRELESS

                                          INTRODUCTION

         Plaintiff Andrew Perrong hereby moves for an order quashing the subpoena issued by

  Defendant Golden Rule Insurance Company to Verizon Wireless. The subpoena requests

  information with no relevance to this matter and which infringes on Mr. Perrong’s privacy,

  namely, Mr. Perrong’s cellular telephone call logs for more than a year. Golden Rule has

  subpoenaed this information even though Mr. Perrong has already provided Golden Rule a

  redacted version of his phone bill for the month of the call showing the log entry for the call at

  issue in this case. While Golden Rule has asserted Counterclaims for Fraud and Abuse of

  Process, currently the subject of a pending motion to dismiss, Golden Rule cannot make a

  showing of how discovery of a call logs of Plaintiff’s phone calls for any amount of time—much

  less over a full year—has any relevance to their counterclaims, which allege Mr. Perrong

  “manufactured” this claim not by making a phone call, but by visiting a website. Accordingly,

  the subpoena to Verizon Wireless should be quashed.



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                                      LAW AND ARGUMENT

         As an initial matter, Mr. Perrong has standing to file this motion to quash. A party has

  standing to move to quash a non-party subpoena “if the subpoena infringes upon the movant’s

  legitimate interests.” United States v. Raineri, 670 F.2d 702, 712 (7th Cir. 1982). An example

  of such a legitimate interest is “production of private information about the party that may be in

  the possession of a third party.” Parker v. Four Seasons Hotels, Ltd., 291 F.R.D. 181, 186-87

  (N.D. Ill. 2013). The subpoena seeks information about all of Mr. Perrong’s phone calls on his

  cellular telephone for over a year, which is private information about him that is in Verizon

  Wireless’ possession. Therefore Mr. Perrong has standing to quash the subpoena seeking

  production of that information.

         The subpoena should be quashed because the information requested has no relevance to

  this case. “[R]egarding subpoenas to nonparties, the scope of material obtainable by a Rule 45

  subpoena is as broad as permitted under the discovery rules." Microsoft Corp. v. Tech. Enters.,

  LLC, No. 1:07-mc-210-DFH-TAB, 2008 U.S. Dist. LEXIS 10964, at *2-3 (S.D. Ind. Feb. 13,

  2008) (citation omitted). Moreover, while Plaintiff’s concern is primarily relevance, the burden

  to the non-party is also a relevant consideration, as along with relevancy, “non-party status is a

  significant factor a court must consider when assessing undue burden for the purpose of a Rule

  45 motion.” WM High Yield v. O'Hanlon, 460 F. Supp. 2d 891, 895-96 (S.D. Ind. 2006).

         Request 1(b) in the subpoena demands production of all of Plaintiff’s call log and

  voicemail log information from January 1, 2019 through the present, a period of over one year.

  See, Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of

  Premises in a Civil Action, attached hereto as Exhibit 1. Plaintiff has already objected to

  providing the same information in discovery, and has provided Golden Rule the limited amount



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  of information encompassed by its request that is relevant. As such, the subpoena is an attempt

  to obtain irrelevant information from a third party that Plaintiff has already objected to

  producing.

         This action under the Telephone Consumer Protection Act (“TCPA”) involves Plaintiff’s

  complaint that he received one single unsolicited phone call on April 11, 2019 from or on behalf

  of the Defendants, using an automatic telephone dialing system (“ATDS”) to the Plaintiff’s

  cellular telephone, without his consent, much less is prior express written consent as required by

  the TCPA. Therefore, Plaintiff produced in discovery his Verizon Wireless phone bill for the

  period April 2, 2019 through May 1, 2019, revealing the call log information for the call at issue

  in this case, but redacting the call log information for the other calls, which have no relevance to

  this action whatsoever. Nonetheless, Golden Rule has still demanded Verizon Wireless to

  produce all call logs and voicemail message logs for a period of over one year.

         Golden Rule has not articulated how this request is at all relevant to the issues in the case.

  While Golden Rule has asserted Counterclaims for fraud and abuse of process against Plaintiff

  claiming he manufactured this case by visiting a website and submitting a quote for health

  insurance (something that has been disproven already in discovery though Plaintiff’s motion to

  dismiss the Counterclaims remain pending), there is no allegation that he made a phone call to

  solicit the call at issue. Moreover, the fact that the request has no temporal proximity to the call

  at issue and extends to the present shows that the calling logs are not being sought for purposes

  of supporting the Counterclaim. Nor does the request have any relevance to Plaintiff’s claim for

  violation of the TCPA based on receipt of a single call or to any Rule 23 issues such as the

  Plaintiff’s fitness to represent the class. The request has no reasonable relation to discovery in

  this case and is the type of “unsupported fishing expedition frowned upon by the Seventh




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  Circuit,” particularly with respect to third-party subpoenas. See WM High Yield, 460 F. Supp. 2d

  at 896 (S.D. Ind. 2006) (quoting Nw. Mem'l Hosp. v. Ashcroft, 362 F.3d 923, 931 (7th Cir.

  2004).) Accordingly, request 1(b) of the subpoena should be quashed.

                                         CONCLUSION

         For the foregoing reasons, Plaintiff’s Motion To Quash should be GRANTED.



                                              Respectfully submitted,

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                                              Counsel for Plaintiff




                                 CERTIFICATE OF SERVICE

         I hereby certify that on February 6, 2020, I served the foregoing document on all counsel

  of record who have entered an appearance via the Court’s CM/ECF system.

                                              /s/ Jonathan P. Misny
                                              Jonathan P. Misny




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